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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 WILBUR W. WASHINGTON,

         Plaintiff,

 v.                                                   Civil Action No. 4:22-cv-00922-O

 CENTER STREET FINANCE, LP, d/b/a
 CSF SERVICING,

         Defendants,
 _________________________________/

                      SECOND MOTION FOR EXTENSION OF TIME TO
                         FILE RESPONSE TO MOTION TO DISMISS

                NOW COMES Wilbur W. Washington, (“Plaintiff”), by and through his

undersigned counsel, moving this Honorable Court for an extension of time for Plaintiff to file his

response to Defendant’s Motion to Dismiss (“Defendant’s Motion”), and in support thereof, stating

as follows:

        1.      On October 13, 2022, Plaintiff filed the instant action against Defendant seeking

        redress for violations of Fair Credit Reporting Act (“FCRA”) pursuant to 15 U.S.C. §1681

        et seq. [Dkt. 1]

        2.      On November 23, 2022, Defendant filed a Motion to Extend Time to Respond to

        Plaintiff’s Complaint. [Dkt 11]

        3.      On December 1, 2022, the Court entered an Order granting Defendant’s Motion to

        Extend its Response to Plaintiff’s Complaint through December 9, 2022. [Dkt 12]

        4.      On December 9, 2022, Defendant filed a Motion to Dismiss Plaintiff’s Claims. [Dkt

        13]

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       5.     Pursuant to Local Rule 7.1(e), Plaintiff’s response to Defendant’s Motion was due

on or before December 29, 2022.

       6.     Due to holidays, a planned vacation and other professional deadlines, Plaintiff filed

a Motion for Extension of Time to File Response to Motion to Dismiss requesting a 21-day

extension through January 12, 2023, to submit his response to Defendant’s Motion. [Dkt 15]

       7.     Due to unforeseen circumstances, Plaintiff is requesting a 14-day extension through

January 26, 2023, to submit his response to Defendant’s Motion.

       8.     The extension is sought in good faith and will not prejudice Defendant.

       9.     Based on the foregoing, there is good cause to grant the extension sought herein.

       WHEREFORE, the Parties respectfully request that the Court enter an order (1) extending

the deadline for Plaintiff to submit his response to Defendant’s Motion through January 26, 2023.


 DATED: January 12, 2023                                 Respectfully submitted,

                                                        /s/ Alexander James Taylor
                                                        Alexander James Taylor, Esq.
                                                        Florida Bar No. 1013947
                                                        Counsel for Plaintiff
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                                                        2500 S. Highland Ave., Ste. 200
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                                                        Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 10, 2022, I electronically filed the foregoing with the Clerk
of the Court for the Northern District of Texas by using the CM/ECF system.



                                                           /s/ Alexander James Taylor




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